                    Case 19-12445-LMI           Doc 30      Filed 04/25/19       Page 1 of 1


                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

In re:                                                             Case No. 19-12445-LMI
Abel Arocha & Eva C Linares,                                       Chapter 13

       Debtor(s).           /
                          MOTION TO WAIVE WAGE DEDUCTION ORDER

COME NOW the Debtor, Abel Arocha and Eva C Linares, by and through the undersigned
counsel, and files this Motion to Waive the Wage Deduction Order and as grounds therefore
states:.

        1. The Debtor works as a driver for AAA Cooper Transportation but may switch jobs

             soon the Joint Debtor makes less than the Debtor who works for a small family-

             owned transportation business.

        2. The Debtor does not want the appearance of a wage deduction order for bankruptcy

             to come up while in the process of switching jobs as it may hurt his chances at

             obtaining the prospective job.

        3.   The Debtors are paying an unsecured only plan and they are paying secured

             creditors outside the plan.

        4.   The Debtors have been advised of the risks involved in waiving the wage deduction

             order but still feels a waiver is the Debtor’s best interest.

WHEREFORE the Debtor, Abel Arocha Eva C Linares, respectfully requests that this
Honorable Court enter an order waiving the requirement that the chapter 13 plan payment be
paid directly by the Debtor’s employer.
       I HEREBY I hereby certify that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this Court set
forth in Local Rule 2090-1(A).

Respectfully submitted on April 25, 2019.

                                                  Respectfully submitted,

                                                  Robert Sanchez, Esq.
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                                                  Hialeah, FL 33012
                                                  Tel. (305)-687-8008

                                                  By: /s/ Robert Sanchez
                                                  Robert Sanchez, Esquire
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